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19                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
20                                  OAKLAND DIVISION

21
     PATRICK CALHOUN, et al., on behalf of              Case No. 4:20-cv-05146-YGR-SVK
22   themselves and all others similarly situated,
                                                     GOOGLE LLC’S ADMINISTRATIVE
23          Plaintiffs,                              MOTION TO SEAL PORTIONS OF
                                                     GOOGLE’S SUPPLEMENT TO
24          v.                                       ADMINISTRATIVE MOTION FOR
                                                     CLARIFICATION OF JUNE 13, 2022
25
     GOOGLE LLC,                                     DISCOVERY ORDER (DKT. 700)
26
            Defendant.                                  Judge: Hon. Susan van Keulen, USMJ
27

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 1     I.     INTRODUCTION
 2            Pursuant to Civil Local Rules 7-11 and 79-5, Defendant Google LLC (“Google”)
 3 respectfully seeks to seal certain portions of Google’s Supplement to Administrative Motion for

 4 Clarification of June 12, 2022 Discovery Order (Dkt. 700) (“Google’s Supplement”) and the

 5 proposed order related to Google’s Supplement (the “Proposed Order”), which contains non-public,

 6 highly sensitive and confidential business information that could affect Google’s competitive

 7 standing and may expose Google to increased security risks if publicly disclosed, including data

 8 logs and their proprietary functionalities. This information is highly confidential and should be

 9 protected. The Court previously granted Google’s motions to seal the same or substantively similar
10 information it seeks to seal now, including in Dkt. Nos. 124, 139, 154, 156, 198, 204, 205, 224, 258,

11 260, 310, 323, 326, 327, 376, 386, 405, 455, 615, 645.

12            This Administrative Motion pertains to the following information contained in Google’s
13 Supplement:

14               Document               Portions to be Filed Under Seal           Party Claiming
                                                                                   Confidentiality
15
            Google’s Supplement     Portions Highlighted in Yellow at:           Google
16
                                    Page 2 Lines 10, 13, 17, 19, 22
17
            Proposed Order          Portions Highlighted Yellow at:              Google
18
                                    Page 1 Lines 7, 10
19

20
      II.     LEGAL STANDARD
21
              A party seeking to seal material must “establish[] that the document, or portions thereof, are
22
     privileged, protectable as a trade secret or otherwise entitled to protection under the law” (i.e., is
23
     “sealable”). Civ. L.R. 79-5(b). The sealing request must also “be narrowly tailored to seek sealing
24
     only of sealable material.” Id.
25
              In the context of dispositive motions, materials may be sealed in the Ninth Circuit upon a
26
     showing that there are “compelling reasons” to seal the information. See Kamakana v. City & Cty.
27
     of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006). However, a party seeking to seal information
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 1 in a non-dispositive motion must show only “good cause.” Id. at 1179-80. The rationale for the

 2 lower standard with respect to non-dispositive motions is that “the public has less of a need for

 3 access to court records attached only to non-dispositive motions because these documents are often

 4 unrelated, or only tangentially related, to the underlying cause of action” and that as a result “[t]he

 5 public policies that support the right of access to dispositive motions, and related materials, do not

 6 apply with equal force to non-dispositive materials.” Kamakana, 447 F.3d at 1179; see also TVIIM,

 7 LLC v. McAfee, Inc., 2015 WL 5116721, at *1 (N.D. Cal. Aug. 28, 2015) (“Records attached to non-

 8 dispositive motions are not subject to the strong presumption of access.”) (citation omitted). Under

 9 the “good cause” standard, courts will seal statements reporting on a company’s users, sales,

10 investments, or other information that is ordinarily kept secret for competitive purposes. See

11 Hanginout, Inc. v. Google, Inc., 2014 WL 1234499, at *1 (S.D. Cal. Mar. 24, 2014); Nitride

12 Semiconductors Co. v. RayVio Corp., 2018 WL 10701873, at *1 (N.D. Cal. Aug. 1, 2018) (granting

13 motion to seal “[c]onfidential and proprietary information regarding [Defendant]’s products” under

14 “good cause” standard) (van Keulen, J.). Although the materials that Google seeks to seal here

15 easily meet the higher “compelling reasons” standard, the Court need only consider whether these

16 materials meet the lower “good cause” standard.

17 III.     THE ABOVE IDENTIFIED MATERIALS EASILY MEET THE “GOOD CAUSE”
            STANDARD AND SHOULD BE SEALED
18
            Courts have repeatedly found it appropriate to seal documents that contain “business
19
     information that might harm a litigant’s competitive standing.” Nixon v. Warner Commc'ns, Inc.,
20
     435 U.S. 589, 589-99 (1978). Good cause to seal is shown when a party seeks to seal materials that
21
     “contain[] confidential information about the operation of [the party’s] products and that public
22
     disclosure could harm [the party] by disclosing confidential technical information.” Digital Reg of
23
     Texas, LLC v. Adobe Sys., Inc., 2014 WL 6986068, at *1 (N.D. Cal. Dec. 10, 2014). Materials that
24
     could harm a litigant’s competitive standing may be sealed even under the “compelling reasons”
25
     standard. See e.g., Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 2015 WL 984121, at
26
     *2 (N.D. Cal. Mar. 4, 2015) (information “is appropriately sealable under the ‘compelling reasons’
27
     standard where that information could be used to the company’s competitive disadvantage”)
28

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 1 (citation omitted). Courts in this district have also determined that motions to seal may be granted

 2 as to potential trade secrets. See, e.g. United Tactical Sys., LLC v. Real Action Paintball, Inc., 2015

 3 WL 295584, at *3 (N.D. Cal. Jan. 21, 2015) (rejecting argument against sealing “that [the party]

 4 ha[s] not shown that the substance of the information . . . amounts to a trade secret”).

 5          Here, Google’s Supplement and the Proposed Order comprise confidential and proprietary

 6 information regarding highly sensitive features of Google’s internal systems and operations that

 7 Google does not share publicly. Specifically, this information provides details related to logs and

 8 their proprietary functionalities. Such information reveals Google’s internal strategies, system

 9 designs, and business practices for operating and maintaining many of its important services while

10 complying with its legal and privacy obligations.

11          Public disclosure of the above-listed information would harm Google’s competitive standing

12 it has earned through years of innovation and careful deliberation, by revealing sensitive aspects of

13 Google’s proprietary systems, strategies, and designs to Google’s competitors. That alone is a proper

14 basis to seal such information. See, e.g., Free Range Content, Inc. v. Google Inc., No. 14-cv-02329-

15 BLF, Dkt. No. 192, at 3-9 (N.D. Cal. May 3, 2017) (granting Google’s motion to seal certain

16 sensitive business information related to Google’s processes and policies to ensure the integrity and

17 security of a different advertising system); Huawei Techs., Co. v. Samsung Elecs. Co., No. 3:16-cv-

18 02787-WHO, Dkt. No. 446, at 19 (N.D. Cal. Jan. 30, 2019) (sealing confidential sales data because

19 “disclosure would harm their competitive standing by giving competitors insight they do not have”);

20 Trotsky v. Travelers Indem. Co., 2013 WL 12116153, at *8 (W.D. Wash. May 8, 2013) (granting

21 motion to seal as to “internal research results that disclose statistical coding that is not publically

22 available”).

23          Moreover, if publicly disclosed, malicious actors may use such information to seek to

24 compromise Google’s data sources, including data logs, internal data structures, and internal

25 identifier systems. Google would be placed at an increased risk of cyber security threats. See, e.g.,

26 In re Google Inc. Gmail Litig., 2013 WL 5366963, at *3 (N.D. Cal. Sept. 25, 2013) (sealing
27 “material concern[ing] how users’ interactions with the Gmail system affects how messages are

28

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 1 transmitted” because if made public, it “could lead to a breach in the security of the Gmail system”).

 2 The security threat is an additional reason for this Court to seal the identified information.

 3          The information Google seeks to redact, including information on logs and their proprietary

 4 functionalities, is the minimal amount of information needed to protect its internal systems and

 5 operations from being exposed to not only its competitors but also to nefarious actors who may

 6 improperly seek access to and disrupt these systems and operations. The “good cause” rather than

 7 the “compelling reasons” standard should apply but under either standard, Google’s sealing request

 8 is warranted.

 9   IV.    CONCLUSION

10          For the foregoing reasons, Google respectfully requests that the Court seal the identified
11 portions of Google’s Supplement and the Proposed Order.

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